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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANNA


In re: VIOXX PRODUCTS LIABILITY                    MDL NO. 1657
       LITIGATION
                                                   SECTION L

This document relates to:                          JUDGE FALLON

CHRIS MERSMAN, et al.                              MOTION TO WITHDRAWAL
Case No.: 2:05 CV 2327                             AS COUNSEL



       Plaintiff, by and through counsel, hereby files the following Motion to Withdraw

attorney Joseph M. Lyon as Counsel on the above referenced case. The law firm of Burg

Simpson Eldredge Hersh & Jardine, PC, and its attorneys Janet G. Abaray and Melanie S.

Bailey remain as Counsel for Plaintiff in this action.

       In accordance with Pretrial Order 8B, counsel certifies that they will make the

necessary changes in counsel status caused by this pleading directly on Lexis Nexis File

& Serve when an Order is entered.

                                              Respectfully submitted,


                                              __/s/ Janet G. Abaray ___
                                              Janet G. Abaray (0002943)
                                              Burg Simpson Eldredge
                                              Hersh & Jardine, P.C.
                                              312 Walnut Street
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                                              (513) 852-5611 (fax)
                                              Attorney for Plaintiff Chris Mersman and
                                              Karen Mersman
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                             CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Motion to Withdrawal as Counsel
has been served on Liaison Counsel, Russ Herman and Phillip Wittman, as well as
Defendants’ Counsel Susan Pope, Frost Brown Todd, LLC, 250 West Main St., Suite
2700, Lexington, KY 40507-1749, and Winston E. Miller, Frost Brown Todd, LLC, 400
West Market St., 32nd Floor, Louisville, KY 40202, by U.S. Mail and e-mail or by hand
delivery and email and upon all parties by electronically uploading the same to
LexisNexis File & Serve Advanced in accordance with PreTrial Order No. 8(B), and that
the foregoing was electronically filed with the Clerk of Court of the United States District
Court for the Eastern District of Louisiana by using CM/ECF system which will send a
Notice of Electronic Filing in accord with the procedures established in MDL 1657 on
this 17th day of November, 2006.


                                                     /s/ Janet G. Abaray________
                                                     Janet G. Abaray
